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                       UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF MASSACHUSETTS
____________________________________
                                     )
JOSE MARIA DeCASTRO, a/k/a           )
CHILLE DeCASTRO, a/k/a DELETE        )
LAWZ,                                )
      Plaintiff,                     )
                                     )
v.                                   )        C.A. No. 1:22-cv-11421-ADB
                                     )
JOSHUA ABRAMS, a/k/a                 )
ACCOUNTABILITY FOR ALL, KATE         )
PETER, a/k/a MASSHOLE TROLL          )
MAFIA,                               )
      Defendants.                    )
____________________________________)

  JOSHUA ABRAMS’ MOTION TO DISMISS THE FIRST AMENDED COMPLAINT
                  AND SUPPLEMENTAL COMPLAINT


       NOW COMES defendant Joshua Abrams a/k/a Accountability for All (“Abrams”) who

respectfully moves that the Court dismiss the First Amended Complaint and Supplemental

Complaint filed by plaintiff Jose Maria DeCastro a/k/a Chille DeCastro, a/k/a Delete Lawz for

failure to state a claim for which relief can be granted. See FED. R. CIV. P. 12(b)(6). Abrams

requests that the Court dismiss not only the sole count against Abrams in the First Amended and

Supplemental Complaints, but also that the Court reject any further request for leave to amend

the complaint, and that such previously pled causes of action (i.e., defamation and intentional

infliction of emotional distress) be dismissed, with prejudice, as well.



       Abrams submits herewith a Memorandum of Law in support of this motion and

incorporates said Memorandum as if fully stated herein.




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                                                       Respectfully Submitted,

                                                       /s/ Joshua N. Garick, Esq.
                                                       __________________________________
                                                       Joshua N. Garick (BBO #674603)
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                                                       Joshua@GarickLaw.com

                                                       Counsel for Joshua Abrams a/k/a
                                                       Accountability for All
Dated: December 23, 2022


                                 CERTIFICATE OF SERVICE

        I hereby certify that this document filed through the CM/ECF system will be sent
electronically to the registered participants as identified on the Notice of Electronic Filing.


                                                              /s/ Joshua N. Garick
                                                              Joshua N. Garick (BBO #674603)

Dated: December 23, 2022




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